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                       IN THE UNITED STATES DISTRICT COURT
                        FOR THE WESTERN DISTRICT OF TEXAS
                               SAN ANTONIO DIVISION


 LA UNIÓN DEL PUEBLO ENTERO, et al.,

                        Plaintiffs,

                 v.                                             Civil Action No. 5:21-cv-844 (XR)
                                                                (consolidated cases)
 GREGORY W. ABBOTT, et al.,

                        Defendants.


   UNITED STATES’ UNOPPOSED MOTION TO WITHDRAW JENNIFER J. YUN
                           AS COUNSEL

        Pursuant to Local Rule AT-3, the United States respectfully requests that this Court grant

leave for Jennifer J. Yun to withdraw her appearance as counsel of record for the United States in

this case. Ms. Yun will leave the United States Department of Justice as of July 12, 2024, for

other employment. Ms. Yun’s withdrawal will not delay any proceedings. All other

undersigned counsel of record will continue to represent the United States in this matter.

Counsel for all parties in this case have been notified and do not oppose Ms. Yun’s withdrawal.
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Date: July 11, 2024

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                                    Assistant Attorney General

                                    /s/ Daniel J. Freeman
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                                 CERTIFICATE OF SERVICE

        I hereby certify that on July 11, 2024, I electronically filed the foregoing with the Clerk
of the Court using the CM/ECF system, which will send notification of this filing to counsel of
record.


                                              /s/ Daniel J. Freeman
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